                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
                               5:08CV10-02-V
                              (5:02CR37-11-V)


ERIC ANTHONY WIMBUSH,         )
     Petitioner,              )
                              )
          v.                  )                  O R D E R
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)


       THIS MATTER is before the Court on Petitioner’s “Motion

Under 28 U.S.C. § 2255 To Vacate, Set Aside, Or Correct Sentence

. . . ,” filed January 30, 2008.         For the reasons stated herein,

Petitioner’s Motion will be denied and dismissed.

                  I.   FACTUAL AND PROCEDURAL BACKGROUND

       The record of Petitioner’s underlying criminal case reflects

that on September 10, 2002, an indictment was filed charging him

(and 10 others) with having conspired to possess with intent to

distribute five kilograms or more of cocaine powder and 50 grams

or more of cocaine base, all in violation of 21 U.S.C. §§ 841 and

846.

       On April 22, 2003, Petitioner appeared before the Court and

entered a “straight-up” guilty plea to the conspiracy charge.

However, on June 9, 2003, Petitioner filed a pro-se Motion to

withdraw his guilty plea, which the Government formally opposed;

and he filed a Motion for the appointment of replacement counsel.




       Case 5:02-cr-00037-KDB   Document 388   Filed 04/17/08   Page 1 of 13
Then, on June 16, 2003, original counsel filed a Motion to With-

draw from Petitioner’s case.

     On June 18, 2003, the Court held a hearing after which it

orally granted Petitioner’s request for new counsel.            Subsequent-

ly, on January 7, 2004, the Court entered an Order granting

Petitioner’s Motion to Withdraw his guilty plea and scheduled his

case for trial.

     On August 24, 2004, the Government filed a Motion in Limine

to preclude defense counsel from mentioning the 2003 acquittal of

one of Petitioner’s co-conspirators.        The Government argued that

the Fourth Circuit previously had held that information such as

that which it was seeking to exclude constituted hearsay, and

that its probative value was outweighed by its potential harm.

     On September 13, 2004, after several continuances, a jury

was empaneled and Petitioner’s trial got underway.           At the outset

of that trial, the Court granted the Government’s Motion in

Limine.

     Thereafter, the Government presented evidence which tended

to show that Petitioner was a mid-level dealer in a conspiracy

through which he received and distributed significant amounts of

cocaine base (“crack”).      Petitioner and other mid-level dealers,

in turn, supplied lower-level dealers with crack; and Petitioner

often purchased and sold crack to those same mid-level dealers

when their primary sources were sold out of their supplies.                 In


                                    2


    Case 5:02-cr-00037-KDB   Document 388   Filed 04/17/08   Page 2 of 13
fact, one such mid-level dealer was Damien Liles, Petitioner’s

brother-in-law, who testified that between the years of 1998 and

2000, he bought about 30 ounces of crack from Petitioner in one

and two-ounce increments; and that during the same period, Peti-

tioner had purchased about 20 ounces of crack from him.

     The defense presented testimony from Petitioner’s wife and

one of his former supervisors.      The witnesses essentially testi-

fied that Petitioner was a nice, well-mannered family man with

well-mannered children; that Petitioner had good character; that

he was an excellent worker; and that Damien Liles had fabricated

his testimony and statements against Petitioner.             However, the

former supervisor conceded that even if he had been aware that

Petitioner was found in possession of a stolen firearm and had

sold drugs from the home which he shared with his disabled grand-

mother, his opinion of Petitioner’s good character would not have

changed.   Additionally, Mrs. Wimbush admitted that Petitioner

often had difficulty maintaining steady employment because he

abused marijuana; and that Petitioner frequented a house known

for drug deals at least three times per week, a basketball court

where drugs were sold about twice per week, and other known drug

sale locations on a regular basis.

     The Court denied the defense’s Motions for acquittal made at

the end of the Government’s case-in-chief and at the end of its

case in rebuttal.    Thereafter, the jury deliberated and convict-


                                    3


    Case 5:02-cr-00037-KDB   Document 388   Filed 04/17/08    Page 3 of 13
ed Petitioner of having conspired to possess with intent to

distribute “50 grams or more of cocaine base.”

     On March 21, 2005, the Court conducted Petitioner’s Sen-

tencing Hearing.    At that time, the Court determined that, by

virtue of his having been accountable for involvement with 700

grams of cocaine base, subject to a two-level firearm related

enhancement under U.S. Sentencing Guidelines § 2D1.1(b)(1) and

subject to a two-level enhancement for his leadership role under

3B1.1(c), Petitioner’s Total Offense Level was 40.            The Court

also found that Petitioner’s Criminal History Category was III,

thereby yielding a sentencing range of 360 months to life impri-

sonment.   Ultimately, Petitioner received a 360-month term.

     Petitioner timely gave his notice of appeal.            On appeal,

appellate counsel filed a brief pursuant to Anders v. California,

386 U.S. 738 (1967), arguing that this Court had erred in denying

Petitioner’s Rule 29 Motion, in granting the Government’s Motion

in Limine, thereby excluding evidence of the acquittal of a co-

conspirator, and in calculating his 360-month sentence. United

States v. Wimbush, No. 05-4337, slip op. at 2-5 (4th Cir. Oct.

27, 2006).

     In addition, Petitioner filed his own pro-se brief, arguing

that the Government had failed to establish that the conspiracy

had dealt in crack, as opposed to powder cocaine; that defense

counsel had been ineffective because he had labored under a


                                    4


    Case 5:02-cr-00037-KDB   Document 388   Filed 04/17/08   Page 4 of 13
conflict of interest which arose from counsel’s having been under

consideration for a judicial appointment during the period that

he represented Petitioner; and that the gun and marijuana were

seized and admitted into evidence in violation of his Fourth

Amendment rights.    Id. at 4 n.1 and at 5 n. 2.

     However, the Circuit Court determined that Petitioner’s

claim against trial counsel was not conclusively demonstrated on

the face of the record.      Id. at 5 n.2.     Therefore, the Court

stated that such claim should be raised, if at all, in a pro-

ceeding like this one, under § 2255.        Id.

     Furthermore, the Circuit Court rejected Petitioner’s other

claims, determining that the evidence presented at trial, which

included “overwhelming evidence . . .” that Petitioner had traf-

ficked in crack and not powder cocaine, was sufficient to sustain

his conviction; that even without the gun and marijuana evidence,

which evidence was not obtained or admitted in violation of Peti-

tioner’s rights, there was “more than enough evidence . . . to

convict [him]”; that the Government’s Motion in Limine properly

was granted because evidence concerning the acquittal of a non-

testifying co-conspirator typically is not admissible at trial;

and that Petitioner’s sentence properly was calculated and

supported by the evidence. Id. at 4-6.         Consequently, that Court

affirmed Petitioner’s conviction and sentence.           Id. at 7.

     Now, Petitioner has returned to this Court on the instant


                                    5


    Case 5:02-cr-00037-KDB   Document 388    Filed 04/17/08   Page 5 of 13
Motion to Vacate.    Here, Petitioner argues that the Court commit-

ted “[j]urisdictional error in sentencing” when it sentenced him

“beyond the jury[’s] verdict in [the] absence of the evidence.”

Second, Petitioner argues that the jury returned a general ver-

dict; therefore, the Court was required to calculate his sentence

on the basis of powder cocaine, the “lesser of the two drugs,”

not the crack.    Third, Petitioner claims that the gun and mari-

juana evidence was obtained and admitted at trial in violation of

his Fourth Amendment rights.       Last, Petitioner claims that appel-

late counsel was ineffective for having refused to raise a claim

that trial counsel was ineffective due to the alleged conflict of

interest.

                             II.    ANALYSIS

            1. This Court is authorized to promptly
               review and dismiss any § 2255 motion
               which does not contain a claim that
               entitles the petitioner to relief.

     Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to promptly examine

motions to vacate, along with “any attached exhibits and the

record of prior proceedings . . . “ in order to determine whether

the petitioner is entitled to any relief on the claims set forth

therein.    In the event it is determined that the petitioner is

not entitled to relief, the reviewing Court must dismiss the

motion.

     Following such directive, this Court carefully has reviewed

                                     6


    Case 5:02-cr-00037-KDB   Document 388   Filed 04/17/08   Page 6 of 13
Petitioner’s Motion to Vacate and the pertinent record evidence.

As hereafter explained, such review clearly establishes that

Petitioner is not entitled to relief on any of his claims.

           2.   Petitioner’s first, second and third
                claims are procedurally barred.

     By his first and second claims, Petitioner essentially al-

leges that his sentence is erroneous because it is unauthorized

and unsupported by the jury’s verdict, and by his third claim he

alleges that evidence was obtained and used against him in vio-

lation of his Fourth Amendment rights.        However, these claims

already were put to rest by the Fourth Circuit Court of Appeals.

     Indeed, as was previously noted, the Fourth Circuit specifi-

cally concluded that Petitioner’s conviction and his sentence

were amply supported by the evidence which was presented during

his trial; and that the seizure and admission of the marijuana

and gun evidence did not violate Petitioner’s Fourth Amendment

rights.   Wimbush, No. 05-4337, slip op. at 4 and 5 n. 2.

     It is well settled that in the absence of a favorable, in-

tervening change in the law which can be applied on collateral

review, a petitioner simply is not free to re-litigate claims

which already were rejected on direct review.          Davis v. United

States, 417 U.S. 333, 342 (1974); Boeckenhaupt v. United States,

537 F.2d 1182 (4th Cir.), cert. denied, 429 U.S. 863 (1976).

Accordingly, since Petitioner has not directed the Court’s atten-

tion to any intervening change in the law which would authorize

                                    7


    Case 5:02-cr-00037-KDB   Document 388   Filed 04/17/08   Page 7 of 13
him to reassert these claims, those matters are procedurally

barred.

          3.   In the alternative, claims one through
               three have been procedurally defaulted.

     To the extent that Petitioner can show that these three

claims were not raised and rejected on appeal, such showing still

would not entitle him to any relief.        That is, in United States

v. Mikalajunas, 186 F.3d 490, 492-93 (4th Cir. 1999), cert.

denied, 529 U.S. 1010 (2000), the Circuit Court pointed out that

“[i]n order to collaterally attack a conviction or sentence based

upon errors that could have been but were not pursued on direct

appeal, the movant must show cause and actual prejudice resulting

from the errors of which he complains[,] or he must demonstrate

that a miscarriage of justice would result from the refusal of

the court to entertain the collateral attack”; citing United

States v. Frady, 456 U.S. 152 (1982); see also Bousley v. United

States, 523 U.S. 614, 621 (1998) (failure to challenge matter on

direct appeal, absent certain compelling circumstances, bars

collateral review of same); and Stone v. Powell, 428 U.S. 465,

477 n.10 (1976).

     In the instant case, although Petitioner argues that appel-

late counsel was ineffective for having failed to argue that

trial counsel labored under a conflict of interest, he does not

also claim that appellate counsel was ineffective for having

failed to raise his other three claims.        Thus, Petitioner has not

                                    8


    Case 5:02-cr-00037-KDB   Document 388   Filed 04/17/08   Page 8 of 13
attempted to assert a cause for the procedural default of these

claims.    Nor does Petitioner otherwise hint at any compelling

circumstances which could require the Court to overlook such

default.    Consequently, to the extent that claims one through

three were not already resolved on appeal, they still must be

summarily dismissed as procedurally defaulted without excuse.

            4.   Petitioner has failed to establish that
                 appellate counsel was ineffective.

     By his only remaining claim, Petitioner alleges that appel-

late counsel was ineffective for having failed to argue that

trial counsel labored under a conflict of interest.

     With respect to claims of ineffective assistance of counsel,

Petitioner must show that counsel's performance was constitution-

ally deficient to the extent it fell below an objective standard

of reasonableness, and that he was prejudiced thereby.             Strick-

land v. Washington, 466 U.S. 668, 687-91 (1984).             In making this

determination, there is a strong presumption that counsel's

conduct was within the wide range of reasonable professional

assistance. Id. at 689; see also Fields v. Attorney Gen. of Md.,

956 F.2d 1290, 1297-99 (4th Cir.), cert. denied, 474 U.S. 865

(1985); Hutchins v. Garrison, 724 F.2d 1425, 1430-31 (4th Cir.

1983), cert. denied, 464 U.S. 1065 (1984); and Marzullo v.

Maryland, 561 F.2d 540 (4th Cir. 1977), cert. denied, 435 U.S.

1011 (1978).

     Under these circumstances, Petitioner “bears the burden of

                                    9


    Case 5:02-cr-00037-KDB   Document 388   Filed 04/17/08    Page 9 of 13
proving Strickland prejudice.”     Fields, 956 F.2d at 1297, citing

Hutchins, 724 F.2d at 1430-31.     If Petitioner fails to meet this

burden, a “reviewing court need not consider the performance

prong.”    Fields, 956 F.2d at 1290, citing Strickland, 466 U.S. at

697.

       Moreover, in considering the prejudice prong of the analy-

sis, the Court must not grant relief solely because Petitioner

can show that, but for counsel’s performance, the outcome of the

proceeding would have been different.       Sexton v. French, 163 F.3d

874, 882 (4th Cir. 1998), cert. denied, 528 U.S. 855 (1999).

Rather, the Court “can only grant relief under . . . Strickland

if the ‘result of the proceeding was fundamentally unfair or

unreliable.’” Id., quoting Lockhart v. Fretwell, 506 U.S. 364,

369 (1993).

       The crux of this claim is that trial counsel labored under a

conflict of interest on the basis of counsel’s pending judicial

appointment.    In fact, Petitioner claims that trial counsel “was

on his way to becoming a district court judge in the very court

where he represented [Petitioner and] was faced with the decision

of effectively representing his client or focusing on his soon to

be transition as a district court judge.”

       To prevail on a claim that there was a conflict of interest

between himself and his former attorney, Petitioner must show (1)

that his attorney had an actual conflict of interest; and (2)


                                   10


   Case 5:02-cr-00037-KDB   Document 388   Filed 04/17/08   Page 10 of 13
that the conflict of interest adversely affected former coun-

sel’s performance.    Fullwood v, Lee, 290 F.3d 663, 689 (4th Cir.

2002), citing Cuyler v. Sullivan, 446 U.S. 335, 348 (1980). “To

establish an actual conflict of interest, the petitioner must

show that his interests diverged with respect to a material,

factual or legal issue or to a course of action.”           Mickens v.

Taylor, 227 F.3d 203, 213 (4th Cir. 2000).

     Here, the record first shows that Petitioner simply is mis-

taken about the nature of defense counsel’s appointment.

Contrary to Petitioner’s assertion that counsel was about to be

appointed “to the very court where [counsel] represented [him]

. . . ,” counsel actually was being considered for a position on

the North Carolina State court, not a federal court appointment.

     More critically, Petitioner has not set forth any matter

over which he and counsel’s interests actually diverged –- he

does not assert that he and counsel disagreed about a course of

action; nor does he assert that he and counsel disagreed concern-

ing a factual or legal issue.     In fact, Petitioner does not even

assert that he told appellate counsel that he and trial counsel

had any such disagreements.     Instead, Petitioner seeks to rely

upon his speculation and conclusory assertions that “[t]he

psychological affects [sic] and pressures that came out of the

soon to be transition enabled [sic] trial counsel’s ability to

put aside his own affairs and perform as counsel was suppose to.”


                                   11


   Case 5:02-cr-00037-KDB   Document 388   Filed 04/17/08   Page 11 of 13
It goes without saying, however, that Petitioner’s assertions

fall far short of setting forth any facts to establish that trial

counsel labored under a conflict which appellate counsel was

obliged to challenge on appeal.

     Likewise, the Court rejects Petitioner’s speculation that

“[s]urely something must have been said or done contrary to per-

fection during the course of a three (whole day trial),” and

[s]urely there must have been something in the record that was

questionable to [appellate counsel] . . . .“          In fact, the Sixth

Amendment does not mandate that a defendant receive a perfect

trial, but merely one which is free from constitutional error.

See United States v. Hasting, 461 U.S. 499, 508-09 (1983)

(“taking into account the reality of the human fallibility of the

participants, there can be no such thing as an error-free, per-

fect trial, and . . . the Constitution does not guarantee such a

trial.”); and Delaware v. Van Arsdall, 475 U.S. 673, 681 (1986)

(noting that a criminal defendant is entitled to “a fair trial,

not a perfect one.”).       Therefore, even if Petitioner had alleged

facts to show that trial counsel performed imperfectly, that

evidence, without more, simply would not have given appellate

counsel a basis for raising a claim of ineffective assistance.

     Finally, it has not escaped the Court’s attention that the

Fourth Circuit routinely refuses to address claims of ineffective

assistance of counsel on direct review, finding instead that such


                                    12


   Case 5:02-cr-00037-KDB    Document 388   Filed 04/17/08   Page 12 of 13
issues are better resolved in habeas proceedings.             Indeed, as was

already noted, the Petitioner actually did raise this claim on

appeal.   Not surprisingly, however, the Circuit Court declined to

address the claim because there was no conclusive evidence to

support it.   Wimbush, No. 05-4337, slip op. at 5 n. 2.             In any

case, Petitioner has failed to demonstrate that either of his

attorneys was ineffective, or that he was prejudiced by their

performances.   Accordingly, this claim must be denied.

                            III.   CONCLUSION

     Petitioner’s first three claims must be denied and dis-

missed--either on the basis of their foreclosure by the appellate

Court or his procedural default of them.          Petitioner’s final

claim must be denied and dismissed because he has failed to state

a claim for relief as to it.

                               IV.   ORDER

     NOW, THEREFORE, IT IS HEREBY ORDERED that Petitioner’s

Motion to Vacate is DENIED and DISMISSED.

     SO ORDERED.

                                          Signed: April 17, 2008




                                     13


   Case 5:02-cr-00037-KDB   Document 388     Filed 04/17/08   Page 13 of 13
